Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                            Document Page 1 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                            Document Page 2 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                            Document Page 3 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                            Document Page 4 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                            Document Page 5 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                            Document Page 6 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                            Document Page 7 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                            Document Page 8 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                            Document Page 9 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 10 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 11 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 12 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 13 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 14 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 15 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 16 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 17 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 18 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 19 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 20 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 21 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 22 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 23 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 24 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 25 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 26 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 27 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 28 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 29 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 30 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 31 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 32 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 33 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 34 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 35 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 36 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 37 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 38 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 39 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 40 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 41 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 42 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 43 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 44 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 45 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 46 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 47 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 48 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 49 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 50 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 51 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 52 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 53 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 54 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 55 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 56 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 57 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 58 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 59 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 60 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 61 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 62 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 63 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 64 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 65 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 66 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 67 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 68 of 69
Case 11-21223   Doc 1   Filed 08/19/11 Entered 08/19/11 12:43:26   Desc Main
                           Document Page 69 of 69
